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 4
 5   Attorney for Beshiba Cook
 6
 7
 8                             UNITED STATES DISTRICT COURT
 9                            EASTERN DISTRICT OF CALIFORNIA
10
11   United States of America,                    No. 2: 12-CR-169-MCE-11
12                    Plaintiff,                  AMENDED STIPULATION AND ORfDER
                                                  TO CONTINUE SENTENCING
13          v.
                                                  Judge: Hon. Morrison C. England, Jr.
14   Beshiba Cook,                                Time: 10:00 a.m.
                                                  Date: September 6, 2018
15                    Defendant.
16
17   IT IS HEREBY STIPULATED by and between the parties hereto through their respective
18   counsel, Jason Hitt, Assistant United States Attorney, and Dustin D. Johnson, Counsel
19   for BESHIBA COOK, that:
20      1. By previous order, this matter was set for sentencing on July 19, 2018.
21      2. By stipulation, the parties now move to continue sentencing to September 6,
22         2018.
23      3. The parties agree and stipulate that this continuance will provide both parties
24         additional time to prepare for sentencing by, inter alia, researching issues
25         pertinent to making a recommendation to the Court for a proposed sentence.
26   IT IS SO STIPULATED.
27         The prosecutor has authorized defense counsel to sign this stipulation on his
28
                                                  1
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 1   behalf.
 2          The probation officer has no objection to continuing the judgment and sentencing

 3   hearing to September 6, 2018 and has provided the following briefing schedule based on
 4   the new Judgment and Sentencing Date of September 6, 2018
 5      •   Reply, or Statement of Non-Opposition: August 30, 2018.
 6      •   Motion for Correction of the Presentence report shall be filed with the Court and
 7          served on the Probation Officer and opposing Counsel no later than: August 23,
 8          2018.
 9      •   The Presentence Report shall be filed with the Court and disclosed to counsel no
10          later than: August 16, 2018
11      •   Counsel’s Written Objections to the Presentence Report shall be delivered to the
12          Probation officer and opposing counsel no later than: August 9, 2018.
13
14   Dated: June 22, 2018                             /s/ Dustin D. Johnson
                                                      DUSTIN D. JOHNSON
15                                                    Counsel for Defendant
                                                      Beshiba Cook
16
17   Dated: June 22, 2018                             McGregor W. Scott
                                                      United States Attorney
18
19                                                    /s/ Jason Hitt (approved via email)
                                                      Jason Hitt
20                                                    Assistant United States Attorney
21
22                                            ORDER
23          IT IS SO ORDERED.
24   Dated: June 28, 2018
25
26
27
28
                                                  2
